United States District Court
Wisconsin Eastern District at the Milwaukee Division

Pablito Vega
Petitioner
CIVIL CASE: 23-CV-1357
Vs. l “TS. District court

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Community Development Financial Institution | | p2 | h94 |
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Local Initiatives Support Corporation Milwaukee Office
RESPONDENT I

&

Community Development Financial Institution
Milwaukee Economic Development Corporation
RESPONDENT II

PETITIONER VEGA’S REPLY TO DENY MEDCs MOTION TO
DISMISS OF 15 DECEMBER 2023

Petitioner Vega certainly had a right to make contact with both of these so called Community Development
Financial Institutions to ascertain the manner in which the economic resources in question delegated to
them by the State of Wisconsin were being dispersed to qualified small businesses in the census tracts
located in 53204 or 53202. Petitioner Vega had an absolute right to request and apply for these economic
resources that were intended originally to be awarded to particular small businesses that met the criteria
qualifications noted in the Award Agreement between the State of Wisconsin Department of
Administration and both of these so-called Community Development Financial Institutions. The Petitioner
Vega was obviously both a prospective applicant and an actual applicant because he requested access to this
credit that he was denied to by being told a falsehood that both organizations did not have on hand any of
these economic resources to disperse in Quarter 4 2022. Partitioner Vega was obviously discouraged by
both of these organizations to not pursue any further ARPA economic resources by their devious actions in
refusing to admit that they in fact had on hand $8.3 million dollars allocated to them by the State of
Wisconsin Department of Administration in April 2022 because he had no entitlement to them under any

standard.

476 F.Supp. 758 (1979), Lois OWENS, A/K/A Lois Williams and Betty J. Maddock v. MAGEE FINANCE SERVICE OF
BOGALUSA, INC., Civ. A. No. 77-3151, United States District Court, E. D. Louisiana, 13 August 1979

A.) “Plaintiff Maddock claims a violation by Magee of her rights under the Equal Credit Opportunity Act, specifically 15 U.S.C. §

1691(a)(3), which provides:

It shall be unlawful for any creditor to discriminate against any applicant, with respect to any aspect of a credit transaction —
(3) because the applicant has in good faith exercised any right under this chapter.”

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B.) “Madduck fit the statutory basis for setting forth a claim under § 1691(a)(3) since she was an ‘applicant,’ 12 C.F.R. § 202.3(c),
who made application for a direct loan (credit), 12 C.F.R. § 202.3(h), from Magee, who was a ‘creditor,’ 12 C.F.R. § 202.3(j), under
the definition of Regulation ‘B’ with regard to a ‘credit transaction,’ 12 C.F.R. § 202.3(k), In evaluating Maddock's
creditworthiness, Magee took into account a prohibited basis —her exercise of rights under the Truth-in-Lending Act.”

C.) “Even if this Court were to believe the evidence offered by Magee that it was not requiring the signing of the settlement
document as a condition of the creditworthiness of Maddock (a factual finding that this Court cannot legitimately make from the
facts and circumstances presented to the Court) plaintiff Maddock's reasonable feeling that this was the basis upon which she was
being granted the emergency loan would alone compel this Court to make a finding on her behalf since under 12 C.F.R. §
202.5(a), Magee would have violated her rights and evaluated her application on a prohibited basis by making an oral statement to
al applicant thal would discourage on a prohibited basis a reasonable person from making or pursuing an application.”

It cannot be disputed by anybody at the LISC or MEDC that the $8.3 million that were dispersed to those
organizations by the Wisconsin Department of Administration via the American Rescue Plan Act was a
special purpose credit program design to assist small businesses recovering from the COVID-19 Pandemic
that are located within certain census tracts and ZIP CODE 53202 and ZIP CODE 53204 among other Zip
Codes throughout the State of Wisconsin. Vega Global Advisors was such a qualified entity in that it was a
small business located within census tracts in 53202 and 53204 that met all the qualifications to not only

being considered for such a economic resource but to be awarded a grant of some fashion or a forgivable

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loan as intended not only in the language used by the State of Wisconsin Department of Administration but
also the language contained within the Award Agreement between the State of Wisconsin Department of
Administration and LISC or MEDC. There is no question that the $8.3 million served as a special purpose
credit program to assist qualified small businesses and not just any other consumer seeking a loan who did
not have any sort of affiliation with a private startup or business of their own.

743 F.2d 169 (1984), UNITED STATES of America, Appellee, v. AMERICAN FUTURE SYSTEMS, INC., First National Acceptance
Corporation and Edward M. Satell, President of American Future Systems, Inc., Appellants, No. 83-1766, United States Court of
Appeals, Third Circuit, Argued June 18, 1984, Decided September 5, 1984, Rehearing Denied October 2, 1984, As Amended
October 10, 1984

A.) “The Equal Credit Opportunity Act proscribes discrimination in the extension of credit. Section 1691(a) of the ECOA states
that
[i]t shall be unlawful for any creditor["!] to discriminate against any applicant, with respect to any aspect of a credit
transaction — (1) on the basis of race, color, religion, national origin, sex or marital status, or age (provided the applicant
has the capacity to contract),[!4!]

(Citing Footnote 3: ‘15 U.S.C. § 1691a(e) defines a creditor as “any person who regularly extends, renews or continues credit; any
person who regularly arranges for the extension, renewal, or continuation of credit; or any assignee of an original creditor who
participates in the decision to extend, renew, or continue credit.”’)

(Citing Footnote 4: ‘The ECOA was originally passed in 1974 to prohibit credit discrimination on the grounds of sex and marital
status. The Act was amended in 1976 to prohibit as well credit discrimination on the basis of race, color, religion, national origin
and age. 15 U.S.C. § 1691(a)(1). The 1976 Amendments also included the exemption for special purpose credit programs.’) 15
USS.C. § 1691(c)(3))

The ECOA does provide, however, for special purpose credit programs responsive to special social needs of a class of persons.
Section 1691(c)(3) carves out this exception:
It is not a violation of this section for a creditor to refuse to extend credit offered pursuant to ... any special purpose credit
program offered by a profit-making organization to meet special social needs which meets standards prescribed in
regulations by the [Federal Reserve] Board.”

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B.) “The Joint Conference Committee on the 1976 amendments explained the intent of special purpose credit programs and the
circumstances under which special purpose programs would be permitted. The intent of [the special purpose credit program
language] of the statute is to authorize the [Federal Reserve] Board to specify standards for the exemption of classes of transactions
when it has been clearly demonstrated on the public record that without such exemption the consumers involved would
effectively be denied credit. As in the case of Government sponsored or non-profit programs, this provision is intended to confirm
that ongoing special programs offered by commercial creditors are not automatically violative of this Act.” H.R.Rep. No. 873, 94th
Cong., 2d Sess. 8, reprinted in 1976 U.S.Code Cong. & Ad. News 403, 428 (emphasis added)

C.) “The Senate Subcommittee also gave examples of the sort of special purpose credit programs that were contemplated by this

exemption.

The essential prohibition in this legislation is directed at discrimination ‘against’ applicants. Nothing in this section
should be read to bar ... experimental or ongoing special programs which prefer applicants in certain categories so long as
there is no accompanying restriction of credit available to applicants not in those categories. For example, this Act is not
intended to prohibit positive credit programs aimed at the ‘young adults’ or golden age’ accounts.” S.Rep. No. 589, 94th
Cong., 2d Sess. 5-6, reprinted in 1976 U.S.Code Cong. & Ad. News 403, 407 (emphasis added)

D.) “The Federal Reserve Board limits the special purpose credit program exception in Regulation B, which states that a program:

shall qualify as a special purpose credit program under paragraph (a) of this section only if it was established and is
administered so as not to discriminate against an applicant on the basis of race, color, religion, national origin, sex,
marital status, age ..., [or] income derived from a public assistance program, ... except that all program participants may be
required to share one or more of those characteristics so long as the program was not established and is not administered
with the purpose of evading the requirements of the Act or this part.” 12 C.F.R. § 202.8(b)(2) (1984) (emphasis added)

E.) “The ECOA sets forth general guidelines which must be satisfied in order for a credit program to qualify as ‘special’ under the
Act. A special purpose credit program must ‘meet special social needs,’ 12 C.F.R. § 202.8(a)(3) (1984); a program meets this

requirement when it is

established and administered to extend credit to a class of persons who, ... (under the credit agencies' customary
standards) probably would not receive such credit or probably would receive it on less favorable terms.” 12 C.F.R. §
202.8(a)(3) (ii)

F.) “Because one of the purposes of the ECOA is to promote equal and nondiscriminatory access to credit opportunity in a credit
oriented society, extension of credit by a profit-making organization to persons otherwise disabled credit-wise, could constitute
meeting a special social need through a special purpose credit program.” (CITING 571 F.Supp. 551 (1982) at 560, UNITED
STATES of America v. AMERICAN FUTURE SYSTEMS, INC., et al, Civ. A. No. 78-1517, United States District Court, E.D.
Pennsylvania, 22 December 1982

G.) “The first pertinent requirement under § 202.8(a)(3) is that the ‘special purpose credit program [is] offered by a for-profit
organization or in which such an organization participates to meet special social needs.” (CITING 571 F.Supp. 551 (1982) at 561,
UNITED STATES of America v. AMERICAN FUTURE SYSTEMS, INC., et al, Civ. A. No. 78-1517, United States District Court,
E.D. Pennsylvania, 22 December 1982

H.) “Section 202.8(a) provides that once the requirements necessary to address the particular social need are set, persons not
within the special social need category may be excluded from participation in the particular credit program. It states:

the Act and this part are not violated if a creditor refuses to extend credit to the applicant solely because the applicant
does not qualify under the special requirements that define eligibility for the following types of special purpose credit
programs.” 12 C.F.R. § 202.8(a)

I.) “The second requirement under § 202.8(a)(3) is that the special Meas. credit program be set out in writing.) ( Citing

Footnote 5: ‘The s ASPparpose Yen progeint must Hee sch Bticile d alka a phfsuanHe GUPRREH Plan that (A)

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identifies the class or classes of persons that the program is designed to benefit and (B) sets forth the procedures and standards for
extending credit pursuant to the program.”’) 12 C.F.R. § 202.8(a)(3)(i)

J.) “Congressman Annunzio, who recommended key amendments which broadened the types of discrimination prohibited by the
ECOA, elaborated on the purpose of the ECOA:

The essential concept of nondiscrimination in the extension of credit is that each individual has a right when he applies
for credit, to be evaluated as an individual: to be evaluated on his individual creditworthiness, rather than based on some
generalization or stereotype about people who are similar to him in race, color, national origin, religion, age, sex or
marital status. Bias is not creditworthiness. Impression is not creditworthiness. An individual's ability and willingness to
repay au exteusion of credit is creditworthiness. 121 Cong.Rec. 16,740 (1975) (emphasis added) The ECOA defines

‘discriminate’ as follows: ‘Discriminate against an applicant means to treat an applicant less favorably than other
applicants.” 12 C.F.R. § 202.2(n) (1984)

K.) “It is precisely for this reason that Regulation B states that a program may be considered a special purpose credit program ‘only
if it was established and is administered so as not to discriminate against an applicant on the basis of race, color, reli gion, national
origin, sex, marital status, [or] age ... except that all program participants may be required to share one or more of those
characteristics so long as the program was not established and is not administered with the purpose of evading the requirements of
the Act or this part.’ § 202.8(b)(2) The explanatory notes to the 1977 revision of Regulation B, § 202.8(b)(2), point out that

‘once the characteristics of the class of beneficiaries are established, a creditor may not discriminate among potential

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Indians. If the program met the requirements of § 202.8(a), the creditor could refuse credit to non-Indians but could not
discriminate among Indian applicants on the basis of sex or marital status.’” 42 Fed.Reg. 1248 (1977) (emphasis added)

Both Beth and Diane were both illegally acting as an assignee of MEDC in October 2022 even though they
weren't hired to make any credit decisions on behalf of MEDC. They both played no role in the credit
decision making process but were allowed to answer the phone and discourage prospective applicants from
applying for credit by denying that MEDC did not have on hand any grant or forgivable loans to extend toa
qualified small business from the pool of economic resources that were delegated to MEDC in the amount of
$5 million by the State of Wisconsin Department of Administration in April 2022. They were both acting in
the illegal capacity denying credit to prospective applicants by discouraging those prospective applicants via
a faisehood that MEDC did not have on hand any grants or forgivable loans to assist that small business to
recover from the COVID-19 Pandemic. There is no question that by refusing to connect the call to a
authorized loan officer who was actually authorized to make a credit decision on a credit application under
the special purpose credit program established by the ARPA was an act of deception that discouraged a
prospective applicant from being forwarded the credit application in question to be filled out by Vega Global
Advisors to be later considered by the appropriate authorized loan officer or authorized underwriter at
MEDC for a grant or forgivable loan.

292 F.Supp.2d 1181 (2003), Albert M. BAYARD, Plaintiff, v. BEHLMANN AUTOMOTIVE SERVICES, INC., et al., Defendants,
No. 4:02 CV 01298 AGF, United States District Court, E.D. Missouri, Eastern Division, 7 November 2003

“The ECOA defines a ‘creditor’ as ‘any person who regularly extends, renews, or continues credit; any person who regularly
arranges for the extension, renewal, or continuation of credit; or any assignee of an original creditor who participates in the
decision to extend, renew, or continue credit.’ 15 U.S.C. § 1691a(e) Under this language, it appears that Behlmann would be
considered a creditor as one who regularly arranges for the extension of credit. The regulations, however, define ‘creditor’
differently for different portions or purposes of the Act. The version of Regulation B in effect at the time of the transaction in this
case defined ‘creditor’ as:

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a person who, in the ordinary course of business, regularly participates in the decision of whether or not to extend
credit.... For purposes of §§ 202.4 [prohibiting discrimination in credit decisions] and 202.5(a) [prohibiting discriminatory
discouragement of applying for credit], the term also includes a person who, in the ordinary course of business, regularly
refers applicants or prospective applicants to creditors, or selects or offers creditors to whom requests for credit may be
made. 20 C.F.R. § 202.2() (Jan.2002)

Comment 2 to § 202.2() explained:

For certain purposes, the term creditor includes persons such as real estate brokers who do not participate in credit
decisions but who regularly refer applicants to creditors or who select or offer to select creditors to whom credit requests
can be made. These persons must comply with § 202.4, the general rule prohibiting discrimination, and with § 202.5(a),
on discouraging applications. /d. Supp. I (Official Staff Interpretations)

Effective April 15, 2003, § 202.2() was revised in that the first sentence was changed to define creditor as ‘a person who, in the
ordinary course of business, regularly participates in a credit decision, including setting the terms of the credit.’ 68 Fed. Reg.
13144, 13155 (March 18, 2003). The comment to this new definition states as follows:

For certain purposes, the term creditor includes persons such as real estate brokers, automobile dealers, home builders,
and home-improvement contractors who do not participate in credit decisions but who only accept applications and refer
applicants to creditors, or select or offer to select creditors to whom credit requests can be made. These persons must
comply with § 202.4(a), the general rule prohibiting discrimination, and with § 202.4(b), the general rule against
discouraging applications.” 12 C.F.R. Pt. 202, Supp. I (March 2003)

Vega Global Advisors is authorized to bring a private cause of action under the ECOA against both LISC
and MEDC based on the disparate treatment Vega Global Advisors was subjected to in September 2022 and
October 2022 by being denied a grant or forgivable loan under the special purpose credit program
established by the ARPA. Petitioner Vega has alleged that he was a member of a protected class, (a qualified
small business in census tracts within 53202 and 53204) and that he was qualified for the grant and
forgivable loan that he requested, (meeting the criteria within the Award Agreement between the State of
Wisconsin Department of Administration and LISC or MEDC) and that the lender declined the loan and

showed a preference for a non-protected individual.

310 F.Supp.2d 481 (2004), Tanya R. POWELL, Plaintiff, v. AMERICAN GENERAL FINANCE, INC., Beneficial, a.k.a. Household
Finance Realty Corp., Inc., BSB Bank & Trust Co., Inc., NBT Bank, Charter One Bank, FSB, Citifinancial, Inc., HSBC Bank, Inc.,
and M & T Bank Corp., Inc., Defendants, No. 3:02-CV-1605, United States District Court, N.D. New York, 22 March 2004

“Regulation B, part of the ECOA, prohibits lenders from denying credit to individuals because of their race, color, religion,
national origin, sex, marital status, or age. See 15 U.S.C. § 1691 et seq.; see also 12 C.F.R. § 202.1 (Omitting Citation 5) The ECOA
provides for a private cause of action based on disparate impact or disparate treatment. See Jones v. Ford Motor Credit Co., No. 00
CIV. 8330, 2002 WL 88431, *3 (S.D.N.Y. Jan. 22, 2002), rev'd on other grounds, 358 F.3d 205 (2d Cir.2004). Courts analyze
disparate treatment claims under the ECOA in the same manner as Title VII employment cases. See Gross v. United States Small
Bus, Admin., 669 F Supp. 50, 52 (N.D.N.Y.1987) (Citations Omitted). Therefore, to establish her claim, a plaintiff must allege that
she was a member of a protected class, that she was qualified for the loan that she requested, and that the lender declined the loan
and showed a preference for a non-protected individual. See id. To establish a prima facie case under a disparate impact theory, a
plaintiff must identify a specific policy or practice which the defendant has used to discriminate and must also demonstrate with
statistical evidence that the practice or policy has an adverse effect on the protected group.” See Jones, 2002 WL 88431, at “3
(Citations Omitted)

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MEDC based on the disparate treatment Vega Global Advisors was subjected to in September 2022 and
October 2022 by being denied a grant or forgivable loan under the special purpose credit program
established by the ARPA. Petitioner Vega is a qualified applicant because he represents Vega Global
Advisors a corporation under 15 U.S.C. § 1691 a(f) that contains an Article of Organization along with
company registration in the State of Florida. Vega Global Advisors is also a qualified applicant because the
startup is “any person who is or may become contractually liable regarding an extension of credit........ ”
Petitioner Vega has alleged that he was a member of a protected class, (a qualified small business in census
tracts within 53202 and 53204) and that he was qualified for the grant and forgivable loan that he requested,
(meeting the criteria within the Award Agreement between the State of Wisconsin Department of
Administration and LISC or MEDC) and that the lender declined the loan and showed a preference for a
non-protected individual. Both LISC and MEDC as creditors made oral statements, in advertising or
otherwise, to Vega Global Advisors as a qualified applicant or qualified prospective applicant that
discouraged on a prohibited basis a reasonable person from making or pursuing an application for credit in

the form of a grant or forgivable loan within the special purpose credit program established by the ARPA
(12 U.S.C. § 202.4(b))

TERRILAFONTAINE TORGERSON and BIG TALK, ING., a South Dakota corporation, Plaintiffs, v. WELLS FARGO BANK
SOUTH DAKOTA, NS., a corporation, Defendant, No. Civ 05- 1950, United States District Court, D. South D Dakota , Northern

Division, 3 February 2009
A.) “The Equal Credit Opportunity Act ((ECOA’) prohibits discrimination against any applicant for credit. 15 U.S.C. § 1691(a)
Applicant includes a corporation. 15 U.S.C. § 1691 a(f) The term applicant also includes ‘any person who is or may become

contractually liable regarding an extension of credit... the term includes guarantors, sureties, endorsers, and similar
parties.” 12 C.F.R. § 202.2(e)

B.) “Under the ECOA, discrimination against an applicant means ‘to treat an applicant less favorably than other applicants.’ 12
C.F.R. § 202.2(1) Tu establish a prima facie case of lending discrimination under ECOA, Big Talk must show that

(1) plaintiff was a member of a protected class,
(2) plaintiff applied for and was qualified for a loan with the bank,

(3) the loan was reiected de espite nlointiffle qualificatinne an d

(3) the loan jected despite plaintiff's qualifications, an
(4) the bank continued to approve loans for applicants with similar qualifications.” Rowe v. Union Planters Bank of Southeast
Missouri. 289 F.3d 533, 535 (8th Cir. 2002) See also Oti Kaga. Inc. v. South Dakota Housing Development. 324 F.3d 871, 882-83
(8th Cir. 2003) (prima facie elements of a Federal Housing Act claim). “Implicit in the fourth element is the requirement that the
non-members be similarly situated.” Oti Kaga. 324 F.3d at 883

C.) “Finally, Regulation B of the ECOA provides not only that the creditor is prohibited from discriminating against an applicant,
12 U.S.C. § 202.4(a), but also prohibits discouragement:

A creditor shall not make any oral or written statement, in advertising or otherwise, to applicants or prospective applicants that
would discourage on a prohibited basis a reasonable person from making or pursuing an application.” 12 U.S.C. § 202.4(b)

Again both Beth and Diane were both illegally acting as an assignee for MEDC in October 2022 even though
they weren't hired to make any credit decisions on behalf of MEDC. They both played no role in the credit
decision making process but were allowed to play with the phones and discourage prospective applicants

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extend to a qualified small business from the pool of economic resources that were delegated to MEDC in
the amount of $5 million by the State of Wisconsin Department of Administration in April 2022. They were
both acting in the illegal capacity denying credit to prospective applicants by discouraging Vega Global
Advisors in the form of providing a falsehood that MEDC did not have on hand any grants or forgivable
loans to assist that small business to recover from the COVID-19 Pandemic. There is no question that by
refusing to connect the call to a loan officer who was actually authorized to make a credit decision on a
credit application under the special purpose credit program established by the ARPA was an act of deception
that discouraged a prospective applicant from being forwarded the credit application in question to be filled
out by Vega Global Advisors to be considered by the appropriate loan officer or authorized underwriter at
MEDC for a grant or forgivable loan. The same could be said for the conduct of Matt Melendes during the
video call in September 2022 where Matt Melendes simply brushed aside the request for credit by Pablito
Vega on behalf of Vega Global Advisors by instead recommending that Pablito Vega should seek out a
venture capitalist. Matt Melendes purposefully did not disclose that LISC was in fact in possession of $3.3
million delegated to LISC by the State of Wisconsin Department of Administration in April 2022 to be
dispersed in the form of a grant or forgivable loan to a qualified small business that had a legal presence in
53204. Additionally Matt Melendes kept that information to himself and at no time during the video call
conversation ever offered to send a loan application to Pablito Vega so he could effectively be considered for
a grant or forgivable loan. Matt Melendes as well was not an authorized loan officer in the employ of LISC
in September 2022. He was also illegally acting as an assignee. Matt Melendes was made aware by Pablito
Vega that he represented Vega Global Advisors in negotiating a grant or a forgivable loan. In this case the

economic resources that can be categorized as a special purpose credit program established by the ARPA.

PATRICIA DIANE MEEKS, Plaintiff, v. MURPHY AUTO GROUP, INC. d/b/a TOYOTA OF WINTERHAVEN, Defendant, Case
No. 8:09-cv-1050-T-TBM, United States District Court, M.D. Florida, Tampa Division, 15 December 2010

“The ECOA defines ‘creditor’ as ‘any person who regularly extends, renews, or continues credit; any person who regularly
arranges for the extension, renewal, or continuation of credit; or any assignee of an original creditor who participates in the
decision to extend, renew, or continue credit.’ 15 U.S.C. § 1691a(e) The concomitant regulation defines ‘creditor’ as ‘a person who,
in the ordinary course of business, regularly participates in a credit decision, including setting the terms of the credit. The term
creditor includes a creditor's assignee, . .. who so participates. For purposes of § 202.4(a) and (b), the term creditor also includes a
person who, in the ordinary course of business, regularly refers applicants or prospective applicants to creditors, or selects or
offers to select creditors to whom requests for credit may be made. .. .’ 12 C.F.R. § 202.2(). Sections 202.4(a) and (b) prohibit the
creditor from discriminating against a consumer in the credit decision and from discouraging the consumer from seeking to apply
for credit. The Seventh Circuit has concluded under this regulatory definition, that one who regularly refers applicants to lenders
is a ‘creditor’ under the Act only for purposes of the anti-discrimination and anti-discouragement provisions of §§ 202.4(a) and
(b). See Treadway, 362 F.3d at 979 13}

(Citing FOOTNOTE 13: “In so concluding, the court cited to the commentary on this provision by the Federal Reserve Board
wherein it recognized ‘that in the credit application process persons may play a variety of roles, from accepting applications
through extending and denying credit. .. . For example, an automobile dealer may merely accept and refer applications, perform
underwriting, and make a decision whether to extend credit. Where the automobile dealer only accepts applications for credit
and refers those applications to another creditor who makes the credit decision— for example, where the dealer does not
participate in setting the terms of the credit or making the credit decision— the dealer is subject only to §§ 202.4(a) and (b) for
purposes of compliance with Regulation B.””) Treadway, 362 F.3d at 979-80 (citing 68 Fed. Reg. at 13155 (Mar. 18, 2003)

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One event occurred in September 2022 denying the grant or forgivable loan and the other event occurred in
October 2022 denying the grant or forgivable loan. The two year statute of limitation would fall in
September 2024 and October 2024. The complaint was filed on 12 October 2023 meeting both deadlines on
the two year statute of limitations and of course meeting the five year deadline in Sept 2027 or Oct 2027.

RANDALL S. TODD, et al. Plaintiffs, V. BANK OF AMERICA, N.A., et al., Defendants, Case No. 2:12-cv-00995-MMN-GWFE,
United States District Court, D. Nevada, 5 November 2012

“Moreover, ECOA claims are barred by a two-year statute of limitations. See 15 U.S.C. § 1691e(f). The two-year period runs from
the date in which Plaintiffs obtain their loan, which here was September 23, 2005. See GreenPoint, 633 F. Supp. 2d at 929.
Plaintiffs do not demonstrate why equitable tolling should apply to this claim.”

930 F.Supp.2d 871 (2013), Kevin HAUG, Plaintiff, v. PNC FINANCIAL SERVICES GROUP, INC., et al., Defendants, Case No. 1:12
CV 485, United States District Court, N.D. Ohio, Eastern Division, 12 March 2013

“By terms of Public Law 111-203, § 1085(7) enacted on July 21, 2010, Congress increased the limitations period for bringing an
action under the ECOA from two years to five years.!25| Although PNC cites to the present five-year limitations period as
governing in this matter, |”! that period did not take effect until July, 2010, and the two-year limitations period applied prior to
claims accruing prior to that date. In general, absent an express statement by Congress that an expansion of a limitations period
shouid apply retroactively,’ courts foliowing the Supreme Court's holding in Landgraf v. USI Film Products! have uniformly
concluded that newly enacted legislation that lengthens a statute of limitations does not apply retroactively to revive a claim that
had expired under the prior limitations period. Thus, any ECOA claim accruing before July 21, 2010, is subject to a two-year
limitations period, not the subsequently enacted fiveyear period. Mays teaches, in conformity with other courts, that the ECOA
limitations period begins to run at the time the violation occurs, not "at the time when the consequences of the action become
painful." Thus, where the alleged violation is a failure to provide notice within the required time, the claim accrues on the date
the notice was due but not provided; the limitations period begins on that date. 33! Similarly, where the alleged violation is
discrimination under the ECOA, the cause of action accrues when the loan application is initially denied.“ That said, courts have
recognized that the continuing violation doctrine may toll the statute of limitations in an ECOA case.(5] Under that doctrine,
which the Supreme Court has developed for hostile work environment cases arising under Title VII, a plaintiff who can show
‘not only a longstanding, overarching policy of discrimination but also a specific, allegedly discriminatory act against her within
the relevant limitations period’ may be entitled to toll the limitations period. But, it must be noted that the Sixth Circuit, which
has not directly addressed the continuing violation doctrine in the context of the ECOA, has said that, ‘courts have been
extremely reluctant to apply [the continuing violation] doctrine outside of the context of Title VII.’38! Moreover, although the
Supreme Court has held that equitable tolling is ‘not inapplicable in discrimination cases’ like those filed under the ECOA, such a
remedy is to be employed ‘sparingly.’ To survive a motion to dismiss, an ECOA plaintiff must allege ‘the minimum information
necessary’ to invoke equitable tolling. The Supreme Court has held that equitable tolling is available when a plaintiff can show
(1) that he has been pursuing his rights diligently, and (2) that some extraordinary circumstance stood in his way and prevented
timely filing,(!)

[FOOTNOTE 27] See, ECF #5 at 6

[FOOTNOTE 28] Cottrell v. Vilsack, 915 F.Supp.2d 81, 90 n. 7, 2013 WL 49569, at *7 n. 7 (D.D.C. Jan. 4, 2013)

[FOOTNOTE 29] See also, id. at n. 8. Prior to the 2010 extension of the limitations period, Congress in 1998 passed legislation
reviving ECOA claims against the U.S. Department of Agriculture that were filed between 1981 and 1996 but had been barred by
the two-year limitations period. This legislation created a window for farmers to refile the claims in federal court or seek review
by the Department of Agriculture.

[FOOTNOTE 30] Landgraf v. USI Film Prods., 511 U.S. 244, 114 S.Ct. 1483, 128 L.Ed.2d 229 (1994)

[FOOTNOTE 31] Jn re ADC Telecomms., Inc. Secs. Litig., 409 F.3d 974, 977 (8th Cir.2005); Enter, Mortgage Acceptance Co., LLC,
Secs. Litig. v. Enter. Mortgage Acceptance Co., 391 F.3d 401, 409-10 (2d Cir.2004); Chenault v. U.S. Postal Serv., 37 F.3d 535, 539
(9th Cir.1994)

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(E.D.Tenn. Feb. 14, 2011)

[FOOTNOTE 33] See, Moore, 2011 WL 652844, at *4

[FOOTNOTE 34] Haynie v. Veneman, 272 F.Supp.2d 10 (D.D.C.2003)
[FOOTNOTE 35] Claybrooks v. Primus Auto. Fin. Servs., 363 F.Supp.2d 969, 980-81 (M.D.Tenn.2005)
[FOOTNOTE 36] See, AMTRAK v. Morgan, 536 U.S. 101, 122 S.Ct. 2061, 153 L.Ed.2d 106 (2002)

[FOOTNOTE 37] Claybrooks, 363 F.Supp.2d at 983 (Citations Omitted)

[FOOTNOTE 38] Bygrave v. Van Reken, 238 F.3d 419, 2000 WL 1769587, at *2 n. 2 (6th Cir.2000) (quoting LRL Props. v. Portage
Metro Hous. Auth., 55 F.3d 1097, 1105 n. 3 (6th Cir.1995)); see also, Ohio Midland Inc. v. Proctor, 2006 WL 3827510, at *9
(S.D.Ohio Dec. 28, 2006)

[FOOTNOTE 39] Hafiz v. Greenpoint Mortgage Funding, 652 F.Supp.2d 1039, 1045 (N.D.Cal.2009) (citing and quoting Nat R.R.
Passenger Corp. v. Morgan, 536 U.S. 101, 113, 122 S.Ct. 2061, 153 L.Ed.2d 106 (2002))

[FOOTNOTE 40] Hafiz, 652 F.Supp.2d at 1045

[FOOTNOTE 41] Lawrence v. Florida, 549 U.S. 327, 335, 127 S.Ct. 1079, 166 L.Ed.2d 924 (2007) (citation omitted); accord,
Robinson v. Easterling, 424 Fed.Appx. 439, 442 n. 1 (6th Cir.2011)

930 F.Supp.2d 871 (2013), Kevin HAUG, Plaintiff, v. PNC FINANCIAL SERVICES GROUP, INC., et al., Defendants, Case No. 1:12
CV 485, United States District Court, N.D. Ohio, Eastern Division, 12 March 2013

“As noted, a cause of action for failure to provide the notice required by the ECOA accrues at the time the violation occurs. Since
the date notice was required for an application submitted on December 22, 2005, was January 21, 2006, and the present action was
not filed until February 29, 2012—or more than four years after the expiration of the two-year limitations period in effect at that
time, both counts one and two are time-barred, absent equitable tolling or other relief from operation of the limitations period.”

754 F.3d 380 (2014), RL BB ACQUISITION, LLG, Plaintiff-Appellee, v. BRIDGEMILL COMMONS DEVELOPMENT GROUP,
LLG, et al., Defendants, Starr Stone Dixon, Defendant-Appellant, No. 13-6034, United States Court of Appeals, Sixth Circuit,
Argued: March 14, 2014, Decided and Filed: June 12, 2014

“A creditor who violates Regulation B necessarily violates ECOA itself. See 15 U.S.C. § 1691a(g). An applicant harmed by the
creditor's violation of Regulation B has the full range of ECOA remedies available to her. See 12 C.F.R. § 202.16(b), 12 C.F.R. §
1002.16(b). If a guarantor discovers a violation of the spouse-guarantor rule, she is free to bring an independent lawsuit (or a

counterclaim) within ECOA's statute of limitations.” |)

FOOTNOTE 4: “When Starr executed her guaranty in June 2008, the statute of limitations for ECOA violations was two years. See
Mays v. Buckeye Rural Elec. Coop., 277 F.3d 873, 879 (6th Cir.2002). The Dodd-Frank Act subsequently extended the limitations
period to five years. See Pub.L. No. 111-203, § 1085(7), 124 Stat. 1376, 2085 (2010) (codified at 15 U.S.C. § 1691e(f)); see also 12
C.F.R. § 1002.16(b)(2). Starr first raised her ECOA defense in December 2011; however, she has not attempted to take advantage
of the five-year statute of limitations.”

In re: VAN E. JOHNSON, Chapter 13, Debtor, VAN E. JOHNSON Plaintiff, v. WELLS FARGO BANK, N.A. d/b/a AMERICA'S
SERVICING COMPANY, BANK OF AMERICA, NATIONAL ASSOCIATION as Trustee for MORGAN STANLEY TRUST 2006-
6AR, MORGAN STANLEY CAPITAL 1 INC., A DELAWARE CORPORATION, as Depositor, MORGAN STANLEY & CO. as
Underwriter, MORGAN STANLEY MORTGAGE CAPITAL INC., as Seller, IDEAL MORTGAGE BANKERS d/b/a LEND
AMERICA, KR MANAGEMENT LLC & MALCO REAL ESTATE INC., and JOHN AND JANE DOES 1 THROUGH 10,
Defendants, Case No. 09-49420, Adv. Pro. No. 13-01445, United States Bankruptcy Court, E.D. New York, August 22, 2014

A.) “The ECOA prohibits creditors from discriminating ‘against any applicant, with respect to any aspect of a credit transaction . .
. on the basis of race, color, religion, national origin, sex or marital status, or age... .’ 15 U.S.C. § 1691. The statute provides a
private right of action, and successful plaintiffs may recover actual and punitive damages, equitable and declaratory relief, and
court costs and attorney's fees. 15 U.S.C. § 1691e(a)-(d). The original version of the ECOA passed in 1974 prohibited
discrimination in the granting of credit on the basis of sex or marital status only. See Richard M. Alderman and Dee Pridgen,

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discrimination waged against women, especially married women whom creditors traditionally refused to consider for individual
credit.’ Anderson v. United Fin. Co., 666 ¥.2d 1274, 1277 (9th Cir. 1982). In 1976, the ECOA was expanded to ban discrimination
on the basis of race, color, religion, national origin, and age.”

B.) “At the time that Johnson entered into his home loan and mortgage, the ECOA provided that a claim for relief had tu be
brought within two years after the date that the discriminatory credit practice occurred."! 15 U.S.C. § 1691e(f). As with FHA
claims, direct evidence of invidious discrimination can be hard to uncover, and the limitations period may not begin to run until
the plaintiff knows or reasonably should know that a violation has occurred.”

FOOTNOTE 5: “The statute of limitations for a claim under the ECOA was extended from two to five years in July 2010 by the
Dodd-Frank Wall Strect Reform and Consumer Protection Act. That amendment is not applicable to Johnson's claims. See
Cottrell v. Vilsack, 915 F. Supp. 2d 81, 90 & n.7 (D.D.C. 2013) (noting that the applicable statute of limitations under the ECOA
was two years at the time of the claim); Citgo Petroleum Corp. v. Bulk Petroleum Corp., 2010 U.S. Dist. LEXIS 82277, at *8 n.4
(N.D. Okla. Aug. 12, 2010) (holding that the Dodd-Frank extension did not apply retroactively).”

Vega Global Advisors is a private startup that meets the qualifications of a small business that has a legal
presence in various census tracts in Zip Code 53202 and Zip Code 53204 as defined by the terms and
conditions of the Award Agreement between the Wisconsin Department of Administration and both

entities, one the LISC and the other the MEDC, classified as Community Development Financial Institutions

that were awarded between them $8.3 million to assist small businesses in recovering from the COVID-i9
Pandemic via the disbursement of grants and forgivable loans made possible by this special purpose credit
program established through the ARPA. Vega Global Advisors made several appeals and requests to both of
these Community Development Financial Institutions in September 2022 and October 2022 but was refused
by staffers not authorized to make credit decisions on behalf of those organizations. Instead Vega Global
Advisors was prevented from speaking to the appropriate loan officer that had the authority to make credit
decisions. Vega Global Advisors was an applicant at that time but was refused the actual credit application
by staffers that had no authority to make credit decisions. Instead they acted as screeners of phone calls and
ideological blockers discouraging Vega Global Advisors from filling out the actual credit application by
refusing to acknowledge that in fact their organizations were the actual beneficiaries of $8.3 million in
special purpose credit program economic resources designed to assist small businesses recover from the
COVID-19 Pandemic with the utilization of a grant of forgivable loan.

TINA ALEXANDER; SHEILA ALEXIS; EVELYN BAINES; SHAUNTAY BENNINGS; NYO HAYGOOD; TABITHA HENRY;
CHEYANNE JONES; ROSLYN JONES; KENDRA WILLIAMS; KYSHIA WOODS; ZACHARY BAYLOR; TRACEY KENNERLY,
Plaintiffs-Appellants, v. AMERIPRO FUNDING, INCORPORATED; AMEGY BANK NATIONAL ASSOCIATION: WELLS
FARGO BANK, N.A., Defendants-Appellees, No. 15-20710, United States Court of Appeals, Fifth Circuit, Filed February 16, 2017

A.) “To state a claim for relief under the ECOA, the plaintiffs must plausibly show that they were discriminated against in
violation of the statute. More specifically, the complaint must plausibly allege that (1) each plaintiff was an ‘applicant’; (2) the
defendant was a ‘creditor’; and (3) the defendant discriminated against the plaintiff with respect to any aspect of a credit
transaction on the basis of the plaintiff's membership in a protected class. See 15 U.S.C. §§ 1691(a), 1691a(b), 1691a(e), 1691e(a)./
B.) “As we have earlier noted, the ECOA provides that ‘[iJt shall be unlawful for any creditor to discriminate against any
applicant, with respect to any aspect of a credit transaction . . . because all or part of the applicant's income derives from any
public assistance program.’ 15 U.S.C. § 1691(a)(2). One remedy for such discrimination is a civil cause of action, providing that
‘[a]ny creditor who fails to comply with any requirement imposed under this subchapter shall be liable to the aggrieved
applicant.’ 15 U.S.C. § 1691e(a) (emphasis added). ‘Applicant’ is defined as ‘any person who applies to a creditor directly for an
extension, renewal, or continuation of credit, or applies to a creditor indirectly by use of an existing credit plan for an amount

exceeding a previously established credit limit.’ 15 U.S.C. § 1691a(b)."! ‘There is nothing ambiguous about “applicant.”
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Moran Foods, Inc. v. Mid-Atl. Mkt. Dev. Co., LLC, 476 F.3d 436, 441 (7th Cir. 2007). ‘To “apply” means “to make an appeal or
request especially formally and often in writing and usually for something of benefit to oneself.” Thus, the plain language of the
ECOA unmistakably provides that a person is an applicant only if she requests credit.’ Hawkins v. Cmty. Bank of Raymore, 761
F.3d 937, 941 (8th Cir. 2014) (citing Webster's Third New International Dictionary 105 (2002)) (alterations omitted), aff'd by an
equally divided Court, 136 S. Ct. 1072 (2016)."”!

C.) “Plaintiffs also counter that even if they did not actually apply, they failed to apply only because they were ‘discouraged’ from
applying. It is true that a regulation pertinent to the ECOA, known as ‘Regulation B,’ provides that ‘[a] creditor shall not make any
oral or written statement, in advertising or otherwise, to applicants or prospective applicants that would discourage on a
prohibited basis a reasonable person from making or pursuing an application.’ 12 C.F.R. § 202.4(b). But § 202.4(b) does not alter
the definition of ‘applicant,’ and only an ‘aggrieved applicant’ has standing under the ECOA to bring a private cause of action. 15
USS.C. § 1691e. The statute provides no cause of action for an ‘aggrieved prospective applicant.’ Discouragement of a ‘prospective

applicant’ may be regulatorily prohibited, but it cannot form the basis of a private claim or cause of action under the ECOA.” #1!)

D.) “The Consumer Financial Protection Bureau (‘CFPB’), as amicus, argues that the ECOA's and Regulation B's definitions of
‘creditor’ are broad enough to encompass Wells Fargo's conduct. See 12 C.F.R. § 202.2(1) (‘Creditor means a person who, in the
ordinary course of business, regularly participates in a credit decision, including setting the terms of the credit. The term creditor
includes a creditor's assignee, transferee, or subrogee who so participates.’); 12 C.F.R. Pt. 1002, Supp. I 1002.2(1)(1), 76 Fed. Reg.
79,442, 79,473 (2011) (‘The term creditor includes all persons participating in the credit decision. This may include an assignee or
a potential purchaser of the obligation who influences the credit decision by indicating whether or not it will purchase the
obligation if the transaction is consummated.’). But even Regulation B's definition of ‘creditor’ does not purport to extend to those
who have no direct involvement whatsoever in an individual credit decision. See 68 Fed. Reg. 13,144, 13,145 (2003) (‘The final
rule clarifies that the definition of creditor includes those who make the decision to deny or extend credit, as well as those who
negotiate and set the terms of the credit with the consumer. But a potential assignee who establishes underwriting guidelines for
its purchases but does not influence individual credit decisions is nota creditor.’) (emphasis added);!"*! accord In re Simmerman,
463 B.R. 47, 63 (Bankr. $.D. Ohio 2011) (‘[A]n assignee may only be held liable as a “creditor” when the assignee influences the
credit decision by, for example, participating in the decision to extend credit or by negotiating the terms of the credit. Without
being involved in or influencing the credit decision, the assignee will not be held liable as a creditor under the ECOA.’).”

[7] “Accord Estate of Davis v. Wells Fargo Bank, 633 F.3d 529, 538 (7th Cir. 2011) (‘To state a claim under the ECOA, Mrs. Davis
had to allege that she was an “applicant” and that the defendants treated her less favorably because of her race.’).”

[8] “Further, ‘creditor’ is defined as ‘any person who regularly extends, renews, or continues credit; any person who regularly
arranges for the extension, renewal, or continuation of credit; or any assignee of an original creditor who participates in the
decision to extend, renew, or continue credit.” 15 U.S.C. § 1691a(e)

[9] “Some courts have found that ‘applicant’ is ambiguous with respect to whether the term covers a guarantor. See, e.g., RL BB
Acquisition, LLC v. Bridgemill Commons Dev. Grp., LLC, 754 F.3d 380, 384-85 (6th Cir. 2014). We need not decide whether the
term includes a guarantor, or whether we ought to defer to Regulation B's definition of the term, which, unlike the statute,
explicitly includes guarantors, and which, unlike the statute, includes those who ‘request[ ]’ credit. See 12 C.F.R. § 202.2(e). We
are satisfied that the term ‘applicant’ does not include individuals who are not guarantors and who never request credit at all.”
[11] “Administrative agencies have broader enforcement powers under the ECOA than individuals attempting to bring a private
cause of action.” See 15 U.S.C. §§ 1691c, 1691e

[14] “The 2011 guidelines, though arguably broader than the 2003 guidelines, were careful to note that ‘this interim final rule does
not impose any new substantive obligations on regulated entities.” 76 Fed. Reg. at 79,442

Both respondents LISC and MEDC are classified as Community Development Financial Institutions by the
State of Wisconsin that are in the business of offering credit in the course of their day-to-day activities along
with participating in those credit decisions and establishing the terms on which the credit will be extended
to consumers requesting credit of some sort. Vega Global Advisors is an applicant for that credit under the
special purpose credit program established by the ARPA administered by the State of Wisconsin
Department of Administration delegated to the LISC and MEDC in the amount of $8.3 million to assist small

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Global Advisors requested this credit but was denied for the credit in question even though Vega Global
Advisors was authorized to become contractually liable regarding the credit in question as a qualified small
business meeting all the criteria in the Award Agreement between the State of Wisconsin Department of
Administration and the two Community Development Financial Institutions that were the recipients of $8.3
million in a special purpose credit program designed to assist small businesses in the recovery efforts from
the COVID-19 Pandemic located within certain census tracts in Zip Code 53202 and Zip Code 53204 in the
form of a grant or forgivable loan.

CARLOS ALEXIS MARTINEZ GARCIA, Plaintiff, v. MEGA AUTO OUTLIT, et al., Defendants, Civil Action No. 1:20-cv-945
(LO/I'CB), United States District Court, E.D. Virginia, Alexandria Division, February 23, 2021

A.) “First, Defendant is a creditor. The ECOA regulations define ‘creditor’ as an entity that ‘in the ordinary course of business,
regularly participates in a credit decision, including setting the terms on the credit.” 12 C.F.R. § 202.2(1)

B.) ‘Second, Plaintiff is an applicant who submitted an application for credit. Plaintiff is an applicant because he was a ‘person
who request[ed] or who [received] au extension of credit from a creditor’ and is ‘a person who is or may become contractually
liable regarding the extension of credit.” 12 C.F.R. § 202.2(e)

3

Vega Global Advisors is authorized to bring a private right of action as either a ‘prospective applicant’ or as
an ‘actual applicant’ under ECOA. Vega Global Advisors was prevented from submitting a credit application
to both the LISC & MEDC by staffers acting illegally as assignees and therefore, Pablito Vega can be
considered an ‘aggrieved applicant.’ The loan request was turned down on the spot because these staffers did
not believe that Pablito Vega was in fact affiliated with a private startup that met all the qualifications under
the Award Agreement between the State of Wisconsin Department of Administration and both of these
Community Development Financial Institutions. They thought that Pablito Vega was simply some
consumer that was under-employed as a result of the COVID-19 Pandemic. They did not believe that
Pablito Vega has a private family office in Wisconsin or a private family office in Florida. ‘l'hey did not
believe that Pablito Vega manages a private startup. They did not believe that Pablito Vega was a
professional independent contractor affiliated with a private startup that provides cloud computing solutions
to a predetermined private client base in his role as a quantitative analyst. Vega Global Advisors is
authorized under section 1691e of the ECOA that created a private right of action for Pablito Vega to bring
this cause of action against LISC and MEDC because, ‘any creditor who fails to comply with any
requirement imposed by this subchapter shall be liable to the aggrieved applicant for any actual damages
sustained by such applicant acting in an individual capacity...’ 15 U.S.C. § 1691e(a) Pablito Vega was an
‘applicant’ because he was ‘any person who applies to a creditor directly for an extension, renewal, or
continuation of credit, or applies to a creditor indirectly by use of an existing credit plan for an amount
ceeding a previously established credit limit.’ 15 U.S.C. § 1691a(b). ‘The plain language of the ECOA
unmistakably provides that a person is an applicant only if he requests credit.’ Pablito Vega during these
phone conversations with these staffers at LISC and MEDC in September 2022 and October 2022 repeatedly
requested a credit application but was constantly refused to be provided one on the spot. Instead Pablito
Vega was sold the idea by these staffers acting illegally as assignees of LISC and MEDC that both
organizations did not have on hand any grants or forgivable loans to extend to a small business. These
staffers conscientiously refused to disclose that both organizations were the actual beneficiaries in the
amount of $8.3 million delegated to them by the State of Wisconsin Department of Administration to assist

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loan. Pablito Vega’s argument is that he was discouraged from ‘applying for credit’ by both LISC and MEDC.
His complaint is clear that Pablito Vega was prevented by LISC and MEDC from applying for credit on a
loan by staffers illegally acting as assignee of both organizations. When in fact they were not hired as loan
officers or underwriters or anything else that delegated to them the responsibility to decide credit matters
on behalf of the Community Development Financial Institution. Pablito Vega was thus rendered an
obviously aggrieved applicant. “Only an ‘aggrieved applicant’ has standing under the ECOA to bring a
private cause of action.” Pablito Vega was obviously a victim of discouragement at the hands of staff
illegally acting as assignees of both organizations in September 2022 and October 2022 as a prospective
applicant requesting constantly for a credit application to be tender to him so he could be considered for a
grant or for a forgivable loan under the special purpose credit program established by the State of
Wisconsin Department of Administration utilizing economic resources derived from the ARPA. Instead,
Pablito Vega was denied access to that credit by these staffers refusing to connect the call with an
authorized loan officer at LISC and MEDC.

ELIJAH WILSON, et al., Plaintiffs, vy. COMMUNITY POWERED FEDERAL CREDIT UNION, et al., Defendants, Civil Action No.
20-1258-RGA, United States District Court, D. Delaware, August 19, 2021

“Defendants argue that dismissal is appropriate because there is no private right of action for ‘prospective applicants’ under ECOA.
Wilson contends that he submitted an application and, therefore, is considered an ‘aggrieved applicant.’ He implies that the loan
request was turned down because of his race.”2! He also argues he has a private right of action because he sought pre-qualification
as part of the credit transaction. Section 1691e of the ECOA creates a private right of action for individuals and provides, ‘Any
creditor who fails to comply with any requirement imposed by this subchapter shall be liable to the aggrieved applicant for any
actual damages sustained by such applicant acting [] in an individual capacity...’ 15 U.S.C. § 1691e(a) The ECOA defines
‘applicant’ as ‘any person who applies to a creditor directly for an extension, renewal, or continuation of credit, or applies toa
creditor indirectly by use of an existing credit plan for an amount exceeding a previously established credit limit.’ 15 U.S.C. §
1691a(b). ‘The plain language of the ECOA unmistakably provides that a person is an applicant only if [Jhe requests credit.’
Hawkins v. Cmty. Bank of Raymore, 761 F.3d 937, 941 (8th Cir. 2014) (quotation marks and citation omitted), affd per curiam by
an equally divided Court, 577 US. 495 (2016) Wilson's arguments do not square with the Complaint's allegations that he was
discouraged from ‘applying for credit’ and that he ‘wanted to apply for’ a loan. (D.I. 1 at {{ 13, 15). In other words, the Complaint
is clear that Plaintiff did not apply for credit or a loan. As alleged, Wilson is not entitled to relief under the ECOA because he
never applied for credit. The failure to allege that he was an applicant is fatal to his claim. ‘[O]nly an “aggrieved applicant” has
standing under the ECOA to bring a private cause of action. The statute provides no cause of action for an “aggrieved prospective
applicant.” Discouragement of a “prospective applicant” may be regulatorily prohibited, but it cannot form the basis of a private
claim or cause of action under the ECOA.’ Alexander v. AmeriPro Funding, Inc., 848 F.3d 698, 708 (5th Cir. 2017) (citing 15
U.S.C. § 1691e). Wilson was never an applicant for credit and does not have a private right of action under the ECOA. Wilson
argues that he was in ‘pre-qualification’ and that this part of the credit procedures is an aspect of a credit transaction subject toa
private right of action under the C.F.R. and the ECOA statute. Granted, 12 C.F.R. § 1002.4(b), promulgated by the Gonsumer
Financial Protection Bureau (CFPB) pursuant to the ECOA, prohibits a creditor from making any statement ‘to applicants or
prospective applicants that would discourage on a prohibited basis a reasonable person from making or pursuing an application.’
Pre-qualification status, however, does not suffice to state a claim. First, § 1002.4(b) does not change the definition of ‘applicant,’
let alone expand the definition to include ‘prospective applicant’; on the contrary, the use of the disjunctive ‘or’ in § 1002.4(b)
makes clear that the CFPB draws a distinction between ‘applicants’ and ‘prospective applicants.’ Second, the ECOA vested the
CFPB with enforcement powers that are more expansive than the private right of action authorized by § 1691e(a). Thus, it makes
sense that the CFPB would promulgate regulations that extend to parties not covered by the ECOA's private right of action. Third,
even if § 1002.4(b) could somehow be read as evidence that the CFPB intended to expand the definition of ‘applicant,’ courts only
defer to an agency's interpretation of a statute when the text of the statute is ambiguous. ‘If the intent of Congress is clear, that is

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applicants, a cause of action for prospective applicants ‘docs not exist and courts may Not creale one, n0 maller how desirable that
might be as a policy matter, or how compatible with the statute.’ In this case, the text of the ECOA is unmistakably clear that only
applicants are covered by its private right of action.” Dhade v. Huntington Learning Ctr., 414 F. Supp. 3d 703, 707 (D. Del. 2019)
(internal quotations and citations omitted).

FOOTNOTE 2: ”Wilson's opposition contains facts that are not in his Complaint. Wilson may not amend his complaint through
his opposition brief, and these new facts may not he considered by the Court on the instant motion to dismiss. See
Commonwealth of Pa. ex rel. Zimmerman v. PepsiCo, Inc., 836 F.2d 173, 181 (3d Cir. 1988) (citing Car Carriers, Inc. v. Ford
Motor Co., 745 F.2d 1101, 1107 (7th Cir. 1984)) (‘[I]t is axiomatic that the complaint may not be amended by the briefs in
opposition to a motion to dismiss.’).”

Both LISC and MEDC violated Regulation B's long standing discouragement prohibition by refusing to
connect the calls to an authorized loan officer employed for LISC and MEDC in September 2022 and
October 2022 to allow Pablito Vega access to a credit application to have been filled out and signed and
submitted on that same day to the loan officer in question authorized to make credit decisions on credit
application for either a grant or favorable loan sponsored by the special purpose credit program created by
the State of Wisconsin Department of Administration from the economic resources allocated to said by the
ARPA. Several federal courts have consistently recognized Regulation B's discouragement prohibition, even
when applied to prospective applicants. (Citing Alexander v. AmeriPro Funding, Inc., 848 F.3d 698 (5th Cir. 2017);

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Dhade v, Huntington Learning Centors, Inc., 414

WL 5211747, at *5 (N.D. Ill. Sept. 13, 2013))

Y, Supp. 3d 703 (D. Del. 2019); Page v. Midiand Fed. Sav. & Loan Ass'n, 2013

Pablito Vega meets the ECOA's definition of ‘applicant,’ because he requested credit but was refused by
staffers at the LISC and MEDC acting illegally as assignees of both organizations. The plain language of the
ECOA unmistakably provides that a person is an applicant only if she or he requests credit. (Citing 15
U.S.C. § 1691a(b); Webster's Third New International Dictionary 105 (2002)) Pablito Vega certainly enjoys
to pursue a private right of action as a private prospective applicant under Section 1691e.

BUREAU OF CONSUMER FINANCIAL PROTECTION, Plaintiff, v. TOWNSTONE FINANCIAL, INC. and BARRY STURNER,
Defendants, No. 20-cv-4176, United States District Court, N.D. Illinois, Eastern Division, 3 February 2023

A.) “The CFPB responds that Regulation B's longstanding discouragement prohibition is authorized by and necessary to the
ECOA, and that courts have consistently recognized Regulation B's discouragement prohibition, even when applied to prospective
applicants.” R. 35, Resp. at 8-10 (citing Alexander v. AmeriPro Funding, Inc., 848 F.3d 698 (5th Cir. 2017); Dhade v. Huntington
Learning Centers, Inc., 414 F. Supp. 3d 703 (D. Del. 2019); Page v. Midland Fed. Sav. & Loan Ass'n, 2013 WL 5211747, at *5 (N.D.
Ill. Sept. 13, 2013))

B.) “va. the Eighth Circuit found that the ‘text of the ECOA clearly provides that a person does not qualify as an applicant under
the statute solely by virtue of executing a guaranty to secure the debt of another.’ /d. at 941 The court looked to the ECOA's
definition of ‘applicant,’ reviewed the dictionary definition for ‘apply,’ and concluded that ‘the plain language of the ECOA
unmistakably provides that a person is an applicant only if she requests credit.” Id (citing 15 U.S.C. § 1691a(b); Webster's Third
New International Dictionary 105 (2002))

C.) “The Court's reading of the ECOA, moreover, is not limited to the civil liability section of the ECOA, which provides that
‘[alny creditor who fails to comply with any requirement imposed under this subchapter shall be liable to the aggrieved applicant
for any actual damages sustained by such applicant acting either in an individual capacity or as a member of a class,’ 15 U.S.C. §
1691e(a)." That is, the Court is not looking exclusively at the private right of action section of the ECOA to conclude that the
whole act applies only to those who qualify as proper plaintiffs under that section. While this case may not present the specific

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issue of whether a private right of action exists for a private prospective applicant under Section 1691e.........

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Footnote 8: “By contrast, the holding in one of the cases relied on by the CFPB, Alexander v. AmeriPro Funding, Inc., 848 F.3d
698 (5th Cir. 2017), was limited to the court's interpretation of the civil liability section, Section 1691e. There, the court found,
without applying the Chevron framework, that ‘[d]iscouragement of a “prospective applicant” may be regulatorily prohibited, but
it cannot form the basis of a private claim or cause of action under the ECOA.’ Jd, at 708. The Court finds Alexander of limited
utility because the court did not address whether the court should defer to Regulation B under the two-step Chevron framework.
Similarly, in Dhade, 414 F. Supp. 3d at 707, another case relied on by the CFPB limited to a claim brought under the civil liability
section, the court found that Regulation B did not expand the definition of ‘applicant’ to include ‘prospective applicant’ in Section
1691e. Although the court noted that ‘the ECOA vested the CFPB with enforcement powers that are more expansive than the
private right of action,’ it also applied Chevron step one to find that ‘[t]here is nothing ambiguous about “applicant,” meaning the
court should not defer to an agency's interpretation of the statute.” Jd, at 706-07

D,) “To further rebut Defendants’ authority, the CFPB cites to cases which purportedly acknowledge and treat Regulation B's
discouragement of prospective applicants as presumptively valid.” Resp. at 9-10 (citing Treadway, 362 F.3d at 979-80; Harbaugh v.
Cont'l Ill. Nat'l Bank & Tr. Co. of Chi, 615 F.2d 1169, 1174 (7th Cir. 1980))

E.) “The CFPB points to Page, 2013 WL 5211747, at *5, in which the court rejected Defendant's argument that the individual
plaintiff's claim under the civil liability provision failed because she never submitted an application. The court looked to
Regulation B's language and found that ‘the ECOA applies to all stages of a credit transaction.” Id

Therefore, the Petitioner Pablito Vega ask the Court to order Judgement against both entities to release to
him a grant in the amount of $200,000 each and to compensate for the fraudulent acts committed against
him another sum as punitive compensation for the fraudulent act of denying him the resource in question in
the first instance in the amount of another $200,000 each. A total of $800,000.

NOTICE OF SERVICE & PROOF OF FILING

Sob juramento de lei, Pablito Vega, que sos es uno de los Europello mas marravillozzo de tododeis de los Europellos y jura que a
sua declaracio esta correta e n4o diz mais nada sobre a seguinte pergunta de oz Santos Europellos en vosotros cielo gloriozzo de oz
Europello mas pode rozzo des di Saa-Maria y Judia y les pedodeis a la Europella toda pode rozza en vosotros cielo gloriozzo Santa
Cecilia de los Santos proteccioneis contrais el enfermo enemigo de la santa paz y tranquilidad. Please take notice that on 19 DEC
2023 Pablito Vega deposited into the USPS the attached Motion to be filed with the Clerk of the US District Court at Wisconsin
Eastern District Milwaukee Division, so that the Motion will be uploaded via the E-MACS Pacer Platform associating it with 23-
CV-1357. Pablito Vega certifies under the penalty of perjury and criminal liability that a copy of this Notice of Filing along with
the Motion will be served upon the parties listed below.

C.D.F.I. PABLITO VEGA
Office of Legal Counsel VEGA GLOBAL ADVISORS
MEDC Milwaukee Office Mid-West Office
757 North Broadway Avenue Lobby Suite
Suite 600 1314 SOUTH FIRST STREET
Milwaukee, WI 53202 MILWAUKEE, WI 53204
Phone: 414 269-1440 1.609.874.9129 PHNE
Fax: 414 269-1466 1.248.748.2576 FAX
Vega 19. DEC 2023
PABLITO VEGA DATE
MEDGCs Incorrect Assertions Re din Disbursement of 8 Million & MEDC Per A se

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Both Respondents should provide to the Court of their free will the names and identities of the small businesses in
Wisconsin that were awarded a sum of some sort {rom the $8.3 million allocated to MEDC & LISC along with the
dollar amount since April 2022. Otherwise, the Petitioner Vega will simply Subpoena these records for the edification
of the Court as another manner to ascertain who were the actual beneficiaries putting into use these economic
resources to achieve a particular organizational goal in either meeting Payroll or meeting a Mortgage Obligation.
During both conversations that took place with these Respondents in September 2022 and October 2022 Pablito Vega
was prevented from accessing the actual loan application by the staffers in question refusing to connect his call to an
actual authorized Loan Officer that had the authority to transmit the loan application to Petitioner Vega. Pablito Vega
was not allowed to fill out the loan application tor either a Grant or Forgivable Loan by being prevented access to the
Loan Officer in question authorized to make those decisions. Instead Petitioner Vega was sold the argument by these
staffers that in September 2022 and October 2022 that these organizations did not have on hand any Grants or
Forgivable loans to disperse to a small business in the Milwaukee SMSA within Zip Codes 53202 and 53204, when the
truth of the matter was that just five to six months earlier in April 2022 both Respondents were allocated $8.3 million
from the Wisconsin Department of Administration to disperse to qualified small businesses that met all of the
qualifying conditions within the Award Agreement within the Wisconsin Department of Administration and both of
these Respondents. What actually took place during these phone conversations was simply a deceptive denial that
there did not exist a transfer of these economic resources in April 2022 to them because at no time during the actual
conversation in question did either Respondent acknowledge having on hand for the past six months $8.3M allocated
to them to be eventually dispersed to a small business seeking assistance to recover from the COVID-19 Pandemic.
And no time during the conversation with the Respondent MEDC by either staffer who picked up the phone and
refused to connect the call to an authorized Loan Officer was Petitioner Vega advised that MEDC was waiting on
specific guidance on how it was to disburse these Grants from the Wisconsin Department of Administration and that
it was forseen or expected in January 2023 for this guidance to materialize. And neither was Petitioner Vega called
back in JAN 2023 with an offer to fill out the Forgivable Loan or Grant applications. Petitioner Vega was in fact an
applicant under 15 U.S.C.A. § 1691 because his phone calls weren’t meant to solicit information from both
Respondents pertaining to any particular program they may or may not have had in 2022. Petitioner Vega’s phone
calls were meant to access a Grant or Forgivable Loan application from an authorized Loan Officer that was managing
the Diverse Business Initiative Grant Program. Further nowhere within any of the clauses of the Award Agreement.
between the Wisconsin Department of Administration and MEDC is there any authorization restricting the granting
of either a Forgivable Loan or Grant to only such person identified in 15 USCA § 1691(c)1. Nor was there any clause
created in the ARPA also calling for that restriction when taking into account the awarding ofa Forgivable Loan or
Grant to assist the small business in question to recover from the COVID-19 Pandemic. 15 USCA § 1691(c)3 would
defeat the purpose of any small business to recover from the COVID-19 Pandemic by a creditor refusing that small
business access to “any special purpose credit program offered by a profit-making organization to meet special social
needs which meets standards prescribed in regulations by the Bureau.” The Petitioner Vega was also an applicant
according to the definition contained in 12 C.F.R. § 202.2 because he repeatedly made various requests to be
connected to a Loan Officer to fill out a Grant of Forgivable Loan application which he was denied access to after
requesting several times to have access to it via an authorized Loan Officer that had the authority to forward to
Petitioner Vega the Grant of Forgivable Loan application on that day in question in September 2022 and October
2022. Petitioner Vega did not formally submit a grant application to MEDC because he was denied that grant
application. So it is not possible to submit an application that was refused to him. Petitioner Vega would have wasted
his time repeatedly calling MEDC and having the phones answered by these two same individuals who repeatedly
refuse to transfer his call to an authorized Loan Officer, Per his Complaint, Mr. Vega made two phone calls and was
constantly lied to by being sold the argument that MEDC was not in receipt since April 2022 of the lump sum in
question that was allocated to it for the purpose of administering Forgivable Loans and Grants from the Wisconsin
Department of Administration Diverse Business Investment Grant Program. Petitioner Vega was effectively denied to

apply for the credit _Retitiongr vega dig mgimall thier kwe/MEDES emplayees ® ohare witbocument 9
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them any knowledge of where his income was derived from. Rather he was lied to by those two same MEDC
employees in Fall 2022 by being told MEDC was not in possession of Grants or Forgivable Loans to revitalize
shuttered businesses in the Milwaukee area when in fact MEDC was dispersed the economic resources to convert into
Forgivable Loans and Grants in April 2022. And if Petitioner Vega missed any deadline to fill out a loan application
for a Grant of Forgivable Loan that was the fault of MEDC by selling him the argument that MEDC was not in
possession of any economic resource to convert into a Forgivable Loan or Grant in Fall 2022 when in fact MEDC had
already received the economic resources back in April 2022. And of course MEDC never returned any phone call
from Fall 2022 to December 2023 advising Petitioner Vega that he was welcome to fill out a loan application for a
Grant or Forgivable Loan whether or not to revitalize a shuttered property in the Milwaukee SMSA or to dedicate
those funds that derived from a Special Purpose Credit Program created by the ARPA to fully operationalize VGAs
ability to function at 100% after almost being driven out of business by the COVID-19 Pandemic. Apparently no one
at MEDC understands that Person A does that have to be employed for either the Pritzker Organization or the Spitzer
Organization to know that rehabilitating any property would entail cost associated with rent or mortgage payments
and payroll. Aside from other costs such as insurance or for the vast hidden costs that are associated with
rehabilitating any property in the process of the small business in question to solidify it's operational capacities such as
those cost as rental or mortgage payments would play a role in that effort not counting the payroll cost associated with
any effort to measure that endeavor. The Diverse Business Initiative Grant program was created to assist an
economically disadvantaged class of businesses that were either put out of business or partially cripple by the COVID-
19 Pandemic. Vega Global Advsiors did fit into the class outlined in the program guidelines because he was seeking a
Forgibalbe Loan or Grant to “revitalize a shuttered property in Milwaukee.” The Wisconsin Department of
Administration required any grants from this program to be used for specific purposes, including, cost of rent or
principal/interest for building mortgage, utilities, and payroll. Revitalizing a shuttered property in any market is an
obvious stated purposes for which the funds could be allocated. MEDC does not understand that 15 U.S.C.A. §
1691(c)(3) would simply defeat the purpose of a Special Purpose Credit Program created by the ARPA to assist a small
business in recovering from the COVID-19 Pandemic because it would in affect decline to meet the special social
needs of that particular small business. Vega Global Advisers was prevented from applying for a Grant or Forgivable
Loan under the Diverse Business Initiative Grants program, a Special Purpose Credit Program designed to assist small
business recover from the COVID-19 Pandemic. The purported denial was not based on any deadline having passed
to apply for the Diverse Business Initiative Grants Program but rather being prevented by those two staffers who
constantly picked up the phone and blocked Pablito Vega from speaking with an authorized loan officer who would
have forward to him the actual loan application to be filled out and submitted on that day in Fall 2022 whether or not
the Wisconsin Department of Administration had yet to issue any particular guidelines prior to 10 January 2023. The
Diverse Business Initiative Grant Program was created as a Special Purpose Credit Program designed to assist small
businesses recover from the COVID-19 Pandemic and not a program to serve as a handout to racial minority groups
who at no time ever create or build a business from nothing but who have historically sought shelter with a NPO, the
economically disadvantaged class of persons under 15 U.S.C.A. § 1691(c)(1) MEDC mentions. Plus any small business
that has an effective working relationship with their primary financial institution would have been the beneficiary of
specific financing that would have addressed the special needs of that small business and would have no need to seek
out a Grant or Forgivable Loan from any source because it would have survived the COVID-19 Pandemic in good
standing. Racial minority group members who have been historically disadvantaged do not normally own a business
because they lack the intellectual sophistication in managing a budget, operating a business, or do not understand
markets, do not understand IT Systems, etc. And that is the reason these historically disadvantaged minority groups
turn to the world of the NPOs. How many small businesses that are owned by a member of a historically
disadvantaged minority group exist in Zip Code 53202 and Zip Code 53204 that managed to survive the COVID-19
Pandemic? How many small businesses are owned by a member of a historically disadvantaged minority group but
who also are employed for a unit of government with the grace of Affirmative Action exist in the Milwaukee SMSA

that managed to aR ive Ae ESOVIBS  Bendenkiled 12/21/23, Page 17of17 Document 9
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